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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO: 07-105

CHARLES EUGENE PREWITT                           SECTION: R


                           ORDER AND REASONS

     Before the Court is defendant Charles Prewitt's motion for

reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(2).1

For the following reasons, the Court DENIES Prewitt's motion.



I. BACKGROUND

     In October 2007, Prewitt pleaded guilty to Count 1 of his

Indictment, which charged him with conspiring to distribute and

possessing with intent to distribute five kilograms or more of

cocaine hydrochloride and included a charge under 21 U.S.C. § 851

for Prewitt's previous conviction of a felony drug offense.2 In

sentencing Prewitt, the Court calculated his total offense level

as 29 and his criminal history category as III,3 which included

two points added under U.S. Sentencing Guidelines (USSG)

§4A1.1(e) since the offense occurred within two years of

Prewitt's last release from prison. The applicable guideline

     1
          R. Doc. 285.
     2
          R. Doc. 69, 72.
     3
          R. Doc. 240.
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range was 108-135 months, but the offense carried a statutory

minimum sentence of 240 months in light of Prewitt's prior felony

conviction. See 18 U.S.C. § 841(a)(1). For reasons discussed

under seal, the Court departed from the statutory minimum and

sentenced Prewitt to 156 months imprisonment.4

      On February 22, 2012, Prewitt filed a motion to reduce his

sentence under 18 U.S.C. § 3582(c)(2). Prewitt's motion was

mistakenly reviewed by the Crack Cocaine Retroactivity Committee

as a motion made pursuant to USSG Amendment 750, and thus the

Court rejected Prewitt's motion since he had not been sentenced

for a crack conviction.5 Prewitt appealed, and upon motion from

the Government, the Fifth Circuit remanded the matter to this

Court.6



II.   DISCUSSION

      Prewitt claims that his sentence should be reduced, due to

the Sentencing Commission's adoption in 2010 of Amendment 742,

which eliminated the recency points under USSG § 4A1.1(e).

Without the two additional points, Prewitt's criminal history

category would have been II rather than III and his guideline

sentence lower. But, under USSG § 5G1.1(b), "where a statutorily


      4
           R. Doc. 156.
      5
           R. Doc. 290.
      6
           R. Doc. 300.

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required minimum sentence is greater than the maximum of the

applicable guideline range, the statutorily required minimum

sentence shall be the guideline sentence." Thus, reducing

Prewitt's criminal history to II would not have affected his

statutory minimum sentence and thus his guideline sentence.

Nevertheless, Prewitt argues that under USSG § 1B1.10(b)(2)(B),

his sentence may be lowered. He contends that since he received a

sentence under the statutory minimum for reasons discussed under

seal and Amendment 742 lowered his guideline range, his sentence

should be reduced to reflect the new guideline range.

     Prewitt concedes that Fifth Circuit case law precludes the

relief he seeks and that he raises this argument to preserve it

for appeal.7 Indeed, the Court finds Prewitt's contentions to be

without merit. First, under 18 U.S.C § 3582(c)(2):

     The court may not modify a term of imprisonment once
     it has been imposed except that . . . in the case of a
     defendant who has been sentenced to a term of
     imprisonment based on a sentence range that has
     subsequently been lowered by the Sentencing Commission
     . . . the court may reduce the term of imprisonment .
     . . if such a reduction is consistent with applicable
     policy statements issued by the Sentencing Commission.


In USSG § 1B1.10, the Sentencing Commission identified the

amendments that may be applied retroactively, and Amendment 742

is not included. See United States v. Drath, 89 F.3d 216, 218

(5th Cir. 1996)(“3582(c)(2) applies only to amendments to the


     7
          R. Doc. 285 at 5.

                                   3
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Guidelines that operate retroactively, as set forth in the

Guidelines policy statement, U.S.S.G. § 1B1.10(d).”) (internal

citation omitted) (original emphasis). Therefore, the Court may

not retroactively modify Prewitt's sentence pursuant to Amendment

742.

       Moreover, even if Amendment 742 were retroactive, it would

have no effect on Prewitt's statutory minimum sentence set forth

in 18 U.S.C. § 841(a)(1).8 See United States v. Pardue, 36 F.3d

429, 431 (5th Cir. 1994) (statutory minimum sentence "overrides

retroactive application of the new guideline"). As Prewitt

acknowledges, in United States v. Carter, the Fifth Circuit held

that a defendant whose sentence was based on a statutory minimum,

not a subsequently amended Guideline range, was not eligible for

a sentence reduction, even though he had received a downward

departure from the statutory minimum for his substantial

assistance. 595 F.3d 575 (5th Cir. 2010). Prewitt presents no

basis on which to distinguish his case, and thus the Court must

follow the precedent set forth in Carter.

       Lastly, the Court rejects Prewitt's contention that the

Sentencing Commission's restrictions on the amendments that may

be applied retroactively violates the separation of powers

doctrine by giving Article III power to the Commission. In United

States v. Garcia, the Fifth Circuit addressed the issue of the


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Sentencing Commission's authority to issue policy statements that

are binding on courts as they determine whether to modify

sentences. 655 F.3d 426 (5th Cir. 2011). The court held,

"Congress has set forth sufficient standards for the Commission

in exercising its discretion, and § 1B1.10 does not present a

separation-of-powers problem." Id. at 435.

     Accordingly, Prewitt has not set forth any valid basis for a

reduction of his sentence, and thus the Court DENIES his motion.



     New Orleans, Louisiana, this 2nd
                                  __ day of May, 2013.


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                           SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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